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15
16                            UNITED STATES DISTRICT COURT

17                                     DISTRICT OF ARIZONA

18   Victor Parsons; Shawn Jensen; Stephen Swartz;             No. CV 12-00601-PHX-DKD
     Dustin Brislan; Sonia Rodriguez; Christina
19   Verduzco; Jackie Thomas; Jeremy Smith; Robert
     Gamez; Maryanne Chisholm; Desiree Licci; Joseph             PLAINTIFFS’ MOTION TO
20   Hefner; Joshua Polson; and Charlotte Wells, on              ENFORCE THE
     behalf of themselves and all others similarly               STIPULATION
21   situated; and Arizona Center for Disability Law,

22                       Plaintiffs,

23           v.

24   Charles Ryan, Director, Arizona Department of
     Corrections; and Richard Pratt, Division Director,
25   Division of Health Services, Arizona Department of
     Corrections, in their official capacities,
26                       Defendants.
27
28

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 1           Plaintiffs hereby move this Court to exercise its inherent powers and those outlined
 2   in the Stipulation (Doc. 1185 ¶¶ 35-36) to enforce the terms of the Stipulation and order
 3   Defendants to take immediate and substantial action to remedy gross and dangerous
 4   deficiencies within their health care system that continue to prevent the provision of
 5   adequate health care and place class members in grave danger of serious harm or death.
 6                                       INTRODUCTION
 7           Almost three years after the Stipulation took effect, Defendants remain out of
 8   compliance with its terms. In the Stipulation’s second year, Defendants are required to be
 9   at least 80% compliant with all of the performance measures; in the Stipulation’s third
10   year (beginning March 2017) and subsequently, Defendants must be at least 85%
11   compliant. [Id. ¶ 10.a.ii.; see also id. ¶ 20.a.ii.] Their own data continue to demonstrate a
12   substantial lack of compliance.
13           On August 28, 2017, Plaintiffs sent Defendants a Notice of Substantial
14   Noncompliance (the “August Notice”).          The August Notice covered ten different
15   performance measures. This Notice is attached as Exhibit 1 to the Declaration of Corene
16   Kendrick (“Kendrick Decl.”). Defendants responded to this Notice on September 28,
17   2017. [Kendrick Decl. Ex. 2] In their response, Defendants conceded that they were
18   substantially noncompliant for most of the measures in the Notice, but disagreed with the
19   definition of substantial noncompliance for some of them. [Id.] The parties met-and-
20   conferred, and subsequently mediated before Judge Bade on November 28, 2017.
21           Defendants conceded substantial noncompliance for all but three of the measures in
22   the Notice.1 The parties discussed various remedial efforts Defendants claimed would
23   address the measures where they conceded noncompliance, and Counsel for Defendants
24   asserted that updated remedial plans would be provided to Plaintiffs prior to the
25
26           1
              The parties are at an impasse as to whether PM 52 (Phoenix), PM 73 (Tucson),
     and PM 96 (Tucson) meet the definition of substantial noncompliance. At the suggestion
27   of Magistrate Judge Bade, the parties agreed that they would file a Joint Motion for
     Clarification with this Court in January 2018 regarding the appropriate definition of
28   substantial noncompliance. [Doc. 2402-1 at 77-78]

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 1   December 20, 2017 status hearing. [Doc. 2402-1 at 76-77] No updated remedial plans
 2   were provided for the measures Defendants conceded were noncompliant. [See 12/20/17
 3   Tr. at 97:18-98:2; see generally Doc. 2510-1]
 4   I.      DEFENDANTS ARE SUBSTANTIALLY NON-COMPLIANT WITH
             NUMEROUS PERFORMANCE MEASURES AT MULTIPLE PRISONS
 5           COMPLEXES
 6           Plaintiffs seek an Order finding Defendants substantially noncompliant with the
 7   following performance measures at the following prisons, pursuant to the definition in the
 8   Stipulation and the Court’s subsequent orders. [Doc. 2030 at 1; Doc. 2118 at 1-2, 3 n.2]
 9   For the institutions/measures for which Defendants have more current compliant scores,
10   Plaintiffs request the Court find Defendants noncompliant but hold in abeyance any order
11   to develop or implement a remedial plan.2 For the institutions/measures that show current
12   or more recent noncompliance, Plaintiffs request that the Court also order Defendants to
13   develop and implement a remedial plan.
14           The measures and prisons at issue for this enforcement motion are:
15
           PM 19 (Eyman, Lewis, Perryville, Phoenix, Tucson): Perpetual inventory
16   medications will be signed off on the inmate’s individual MAR.
17           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 19
18   at Eyman, Lewis, Perryville, Phoenix, and Tucson prisons. Plaintiffs seek an Order
19   directing Defendants to develop and implement a remedial plan with respect to this PM at
20   Eyman, Lewis, and Phoenix.
21               Nov     Dec    Jan    Feb   Mar       Apr May June July Aug Sept Oct
22    Eyman      82      78     82     72    84        78  80   80   70  72   72  78
      Lewis      63      70     65     59    59        61  60   68   71  69   51  54
23    Perryville 84      89     92     87    92        75 100 90     91   87  89  95
24    Phoenix     85     88     83     96    94        81  79   92   84   85  90  74
      Tucson     78      80     80     80    94        83  94   88   90   88  88  87
25
26
27           2
              [See, e.g., Doc. 2403 at 3 (regarding PM 49, “The Court finds Douglas and
     Perryville in substantial noncompliance but holds the remediation plan in abeyance”); see
28   also 10/11/17 Tr. at 55:16-20, 58:7-14]

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 1           In addition to the substantial noncompliance for the past 12 months shown above,
 2   the institutions were additionally substantially noncompliant in the preceding12 months:
 3           ASPC Eyman:
                2015: November (22%), December (26%)
 4              2016: January (14%), February (18%), March (18%), April (10%),
                  May (20%), June (10%), July (14%), August (14%), September (32%),
 5                October (34%)
 6           ASPC Lewis
                2015: November (19%), December (19%)
 7              2016: January (29%), February (10%), March (20%), April (6%),
                  May (20%), June (18%), July (7%), August (11%), September (8%),
 8                October (26%)
 9           ASPC Perryville:
                2015: November (56%), December (50%)
10              2016: January (53%), February (56%), March (59%), April (46%),
                  May (50%), June (50%), July (48%), August (48%), September (46%),
11                October (45%)
12           ASPC Phoenix:
                2015: November (58%), December (35%)
13              2016: January (63%), February (47%), March (54%), April (44%),
                  May (50%), June (56%), July (44%), August (%), September (38%),
14                October (49%)
15           ASPC Tucson
                2015: November (21%), December (23%)
16              2016: January (18%), February (33%), March (27%), April (29%),
                  May (14%), June (19%), July (16%), August (28%), September (24%),
17                October (29%)
18   [Doc. 2251-1 at 43]
19
            PM 44 (Winslow): Inmates returning from an inpatient hospital stay or ER
20   transport with discharge recommendations from the hospital shall have the hospital’s
     treatment recommendations reviewed and acted upon by a medical provider within 24
21   hours.
22           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 44
23   at Winslow, and an Order directing Defendants to develop and implement a remedial plan
24   with respect to this PM.
25            Nov       Dec     Jan   Feb   Mar     Apr May June July Aug Sept             Oct
26    Winslow N/A       71       0    40    100     100 50   75   57  25   50              100

27           In addition to the substantial noncompliance for the past 12 months shown above,
28   the institution was additionally substantially noncompliant in the preceding 12 months:

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 1                2016: January (50%), July (67%)
 2   [Doc. 2251-1 at 49]
 3
            PM 48 (Tucson): Documentation, including the reason(s) for the denial, of
 4   Utilization Management denials of requests for specialty services will be sent to the
     requesting Provider in writing within fourteen calendar days, and placed in the patient’s
 5   medical record.
 6           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 48

 7   at Tucson.

 8           Nov Dec            Jan   Feb Mar Apr May June July Aug Sept                 Oct
 9    Tucson 100  89            100    82  25  76  62   25 18   83   93                  97

10           In addition to the substantial noncompliance in the past 12 months shown in the

11   chart above, the institution was additionally substantially noncompliant in the preceding12

12   months:

13                2016: July (14%), August (63%)3
14   [Doc. 2251-1 at 50]
15          PM 50 (Tucson): Urgent specialty consultations and urgent specialty diagnostic
     services will be scheduled and completed within 30 calendar days of the consultation
16   being requested by the provider.
17           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 50

18   at Tucson, and an Order directing Defendants to develop and implement a remedial plan

19   with respect to this PM.

20           Nov Dec            Jan   Feb Mar Apr May June July Aug Sept                 Oct
      Tucson  84  94             88    91  80  70  83   86 78   31   66                  77
21
22           In addition to the substantial noncompliance for the past 12 months shown above,

23   the institution was additionally substantially noncompliant in the preceding 12 months:

24                2015: December (74%)
                  2016: February (73%), March (78%), April (72%), May (71%), June (78%)
25
     [Doc. 2251-1 at 51]
26
27           3
             Defendants did not begin auditing this Performance Measure until July 2016
     because they took the position that “Alternate Treatment Plans” were not denials. [See
28   Docs. 1561-1 at 6; 1626-1 at 38-39]

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 1
           PM 52 (Phoenix): Specialty consultation reports will be reviewed and acted on by
 2   a Provider within seven calendar days of receiving the report.4
 3           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 52

 4   at Phoenix, and an Order directing Defendants to develop and implement a remedial plan

 5   with respect to this PM.

 6            Nov         Dec   Jan   Feb   Mar    Apr May June July Aug Sept            Oct
 7    Phoenix  92         100    90   100   100     55  70   45 92    89  83             100

 8         PM 67 (Florence, Perryville, Tucson): In an IPC, Registered nurses will conduct
     and document an assessment at least once every shift. Graveyard shift assessments can be
 9   welfare checks.
10           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 67

11   at Florence, Perryville, and Tucson. Plaintiffs seek an Order directing Defendants to

12   develop and implement a remedial plan with respect to this PM at Florence and Tucson.

13                  Nov   Dec   Jan   Feb   Mar Apr      May June July       Aug Sept Oct
     Florence        99    70    90    80    60 90        60   90 30         50   90 100
14   Perryville     100    57   100   100   100 71       100   60 100        100 100 86
     Tucson          99    80    80    20    20 40         0    0  0          0   60  70
15
16           In addition to the substantial noncompliance for the past 12 months shown above,
17   the institutions were additionally substantially noncompliant in the preceding12 months:
18           ASPC Florence
                2015: November (20%), December (0%);
19              2016: January (10%), February (20%), March (20%), April (40%),
                  May (10%), June (40%), July (60%), August (60%)
20
             ASPC Perryville
21              2016: February (60%), May (70%), June (70%), July (30%), August (63%)
22           ASPC Tucson
                2015: November (20%), December (0%);
23              2016: January (0%), February (0%), March (10%), April (40%),
                  May (40%), June (50%), July (60%), August (70%)
24
     [Doc. 2251-1 at 55]
25
26
27           4
            Defendants do not concede that they are substantially noncompliant with this PM
     at Phoenix because they disagree with regard to the definition of substantial
28   noncompliance. [Kendrick Decl. Ex. 2 at 2; Doc. 2502-1 at 76]

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 1
            PM 73 (Tucson): All MH-3 minor prisoners shall be seen by a licensed mental
 2   health clinician a minimum of every 30 days. 5
 3           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 73

 4   at Tucson.

 5          Nov Dec Jan Feb Mar Apr May June July Aug Sept                             Oct
     Tucson 100 100 100 88 89   63  63 100 100 100 100                                 100
 6
 7           In addition to the substantial noncompliance for the past 12 months shown above,
 8   the institution was additionally substantially noncompliant in the preceding 12 months:
 9                2016: January (70%), February (60%), March (20%), April (40%)
10   [Doc. 2251-1 at 57]
11
            PM 95 (Tucson): Only licensed mental health staff may remove a prisoner from a
12   suicide or mental health watch. Any prisoner discontinued from a suicide or mental health
     watch shall be seen by a mental health provider, mental health clinician, or psychiatric
13   registered nurse between 24 and 72 hours after discontinuation, between seven and ten
     days after discontinuation, and between 21 and 24 days after discontinuation of the
14   watch.
15           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 95
16   at Tucson.
17          Nov Dec         Jan    Feb   Mar   Apr May June Aug Sept             Oct    Nov
     Tucson 100 90          100    90    80    80  80   95 100 100               100    100
18
19           In addition to the substantial noncompliance for the past 12 months shown above,
20   the institution was additionally substantially noncompliant in the preceding12 months:
21                2015: December (70%);
                  2016: January (70%), February (30%), March (70%), June (40%)
22
     [Doc. 2251-1 at 62]
23
24
25
26
27           5
            Defendants do not concede that they are substantially noncompliant with this PM
     at Tucson because they disagree with regard to the definition of substantial
28   noncompliance. [Kendrick Decl. Ex. 2 at 2; Doc. 2502-1 at 76]

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 1
           PM 96 (Tucson): A reentry/discharge plan shall be established no later than 30
 2   days prior to release from ADC for all prisoners who are MH-3 or above. 6
 3           Plaintiffs seek an Order finding Defendants substantially noncompliant with PM 96

 4   at Tucson.

 5          Nov Dec         Jan    Feb   Mar    Apr May June July Aug Sept             Oct
     Tucson 100 98          98     100   82     79  80   90   95  91   95              93
 6
 7           In addition to the substantial noncompliance for the past 12 months shown above,
 8   the institution was additionally substantially noncompliant in the preceding12 months:
 9                2016: June (58%)
10   [Doc. 2251-1 at 62]
11   Respectfully submitted this 4th day of January, 2018.
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22
23
24
25
26
27           6
            Defendants do not concede that they are substantially noncompliant with this PM
     at Tucson because they disagree with regard to the definition of substantial
28   noncompliance. [Kendrick Decl. Ex. 2 at 2; Doc. 2502-1 at 76]

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     Case 2:12-cv-00601-ROS Document 2520 Filed 01/04/18 Page 9 of 11



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 8                                        Polson; and Charlotte Wells, on behalf of
                                          themselves and all others similarly situated
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     Case 2:12-cv-00601-ROS Document 2520 Filed 01/04/18 Page 11 of 11



 1                               CERTIFICATE OF SERVICE
 2           I hereby certify that on January 4, 2018, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to the following CM/ECF registrants:

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